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                               UNITED STATES DISTRICT COURT
                                                         for the
                                                 Western District of Texas
                                                     Austin Division

                United States of America                       )
                           v.                                  )
                                                               )    Case No. 1:20-cr-232
                     Jamar Augustin                            )
                        Defendant                              )

                                ORDER OF DETENTION PENDING TRIAL
                                             Part I - Eligibility for Detention
     On Motion of the Government attorney pursuant to 18 U.S.C. § 3142(f)(1), the Court held a detention hearing and
found that detention is warranted. This order sets forth the Court ’s findings of fact and conclusions of law, as required by
18 U.S.C. § 3142(i), in addition to any other findings made at the hearing.


                             Part II - Analysis and Statement of the Reasons for Detention

       After considering the factors set forth in 18 U.S.C. § 3142(g), the pretrial services report, and the evidence and
arguments of counsel presented at the detention hearing, the Court concludes that the defendant must be detained pending
trial because the Government has proven:

     By clear and convincing evidence that no condition or combination of conditions of release will reasonably assure
     the safety of the community.

  X By a preponderance of evidence that no condition or combination of conditions of release will reasonably assure
    the defendant’s appearance as required.

     In addition to any findings made on the record at the hearing, the reasons for detention include the following:

      X Weight of evidence against the defendant is strong
        Subject to lengthy period of incarceration if convicted
      X Prior criminal history
      X Participation in criminal activity while on probation, parole, or supervision
        History of violence or use of weapons
      X History of alcohol or substance abuse
      X Lack of stable employment
        Lack of stable residence
        Lack of financially responsible sureties
        Lack of significant community or family ties to this district
        Significant family or other ties outside the United States
        Lack of legal status in the United States
        Subject to removal or deportation after serving any period of incarceration
        Prior failure to appear in court as ordered
      X Prior attempts to evade law enforcement
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           Use of alias(es) or false documents
           Background information unknown or unverified
         X Prior violations of probation, parole, or supervised release


                                          Other Reasons or Further Explanation:

        My decision is based on the identified factors. In addition, Mr. Augustin currently is serving a sentence for

unauthorized absence from a community correctional facility, a state jail felony. He has served multiple sentences for

evading arrest, including offenses within the past five years. Mr. Augustin also has a lengthy criminal history that includes

probation revocation and criminal activity while on probation. Considering all information available, the government has

established by a preponderance of the evidence that no condition or combination of conditions of release will reasonably

assure Mr. Augustin’s appearance as required.



                                         Part IV - Directions Regarding Detention

        The defendant is remanded to the custody of the Attorney General or to the Attorney General’s designated

representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving

sentences or being held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private

consultation with defense counsel. On order of a court of the United States or on request of an attorney for the Government,

the person in charge of the corrections facility must deliver the defendant to a United States Marshal for the purpose of an

appearance in connection with a court proceeding.




Date:       January 6, 2021
                                                                Susan Hightower
                                                                United States Magistrate Judge




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